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                 EXHIBIT A
                   Case 2:24-cv-03058-DAD-CSK                                                                      Document 12-2                                Filed 02/25/25     Page 2 of 3                                                                      Artwork Creator: Responsibility sits with you
                                                                                                                                                                                                                                                                    (your company) to ensure that final packaging

                                                                                                                                                                                                               v1.1
                                                                                                                                                                                  Dieline Eng. Spec: S013601
                                                                                                                                                                                                                         >> Up to date?                             complies with age rating bodies and local laws
                                                                                                                                                                                                   Xbox One
                                                                                                                                                                                       Outer Wrap Template               Check the Xbox brand site at               for all regions into which you are distributing.
                                                                                                                                                                                                                         https://microsoftrad.com/ for the latest   You are also responsible to secure all necessary
                                                                                                                                                                                                                         information, templates, and more!          licenses and approvals for use of any third party
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                                                                                                                                                                                     XBOX_ONE_OWP_v1.1.indd   May 2014                                              developer studios and/or middleware logos.




   Dominate the roads with your four-man crew.                        Mainland USA is your playground.                           Outfit your ride for every terrain.
         A true MMO driving experience.                            1,900 seamless square miles to explore.                        Dirt, paved, hilled, and circuit.

                            Xbox Live
 Players                         2-4
 Co-op                           2-4
 Impulse Triggers                 •
 Wheel                        optional

For use only with Xbox One™ systems. Game disc and up to 17 GB storage required. Additional storage, hardware, and
Xbox Live® may be required for setup, some updates and features, including retention of some gameplay settings and
information. See xbox.com/xboxone/gettingstarted. Storage requirements subject to change. Unauthorized copying,                                        UBP50400967-CVR
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Xbox Live System Requirements: Broadband internet (ISP fees apply), and Microsoft® account required. In supported
games, paid subscription required for online multiplayer. Features and system requirements vary by country and over                       Language
time. Not available in all countries, see xbox.com/live/countries. Subject to Terms of Use at xbox.com/live/termsofuse.                   Mild Blood
See xbox.com/live for full details.
                                                                                                                                          Mild Suggestive Themes
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                                      Read inside the case for information about photosensitive
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                                                                                                                                                                           000
                                      seizures and other important safety and health information.                                                                         00000                                          REQUIRES INTERNET




                                                                                                                                                                         CYAN MAGENTA YELLOW BLACK
                                                                                                                                                                                                                                          Layout Guide



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Dominate the roads with your four-man crew.    Mainland USA is your playground.                            Outfit your ride for every terrain.
      A true MMO driving experience.        1,900 seamless square miles to explore.                         Dirt, paved, hilled, and circuit.


                       HDD               1080P
                       16 GB


                                                                                                                       10%
                        2–8


  *Online multiplayer requires a PlayStation Plus membership. • PSN online features require broadband Internet service and a Sony Entertainment
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